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     Attorneys for Plaintiff
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE DISTRICT OF ARIZONA
 9
10   United States of America,                                     20-mj-08217-JZB
11                         Plaintiff,                     GOVERNMENT’S NOTICE OF
                                                          AUTOMATIC EXTENSION OF
12            vs.                                       SPEEDY TRIAL CLOCK PURSUANT
                                                              TO 18 U.S.C. § 3161(b)
13
     Jill Marie Jones,
14
                           Defendant.
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            The defendant was arrested on July 22, 2020, and the government initiated this
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     felony case via complaint. Although 18 U.S.C. § 3161(b) requires that an indictment issue
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     within 30 days from a defendant’s arrest or the service of a summons, D. Ariz. General
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     Orders 20-12 (issued March 16, 2020), 20-20 (issued April 16, 2020), 20-26 (issued May
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     28, 2020), and 20-27 (issued June 17, 2020) have suspended grand jury proceedings from
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     March 16, 2020 until further order of the court. These General Orders were issued to
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     address the same public health concerns related to COVID-19 described in General Orders
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     20-10 and 20-13, which have been superseded by General Order 20-15 (issued March 20,
23
     2020) and extended by General Order 20-17 (issued March 27, 2020), General Order 20-
24
     20 (issued April 16, 2020), and General Order 20-26, all of which recognize continued
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     COVID-19 health concerns.          Based on the General Orders and the grand jury’s normal
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     schedule, the grand jury will not be in session in the District of Arizona during the 30 days
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     following the defendant’s arrest.
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 1          The Speedy Trial Act automatically provides for an additional 30 days in which to
 2   seek an indictment “when no grand jury has been in session during [the] thirty-day period”
 3   following a defendant’s arrest. 18 U.S.C. § 3161(b). No government motion is required.
 4   See United States v. Mann, 701 F.3d 274, 284–85 (8th Cir. 2012) (“The plain language of
 5   section 3161(b) is unambiguous: where a grand-jury is not in session during the thirty- da y
 6   period, ‘the period of time for filing of the indictment shall be extended an additional thirty
 7   days.’ 18 U.S.C. § 3161(b). Pursuant to the language of the statute, the extension of time
 8   is automatic; no Government motion is required.”) In General Orders 20-12, 20-20, and
 9   20-27, this Court also stated: “Pursuant to 18 U.S.C. § 3161(b), if any individual is charged
10   in this district with a felony during this period when the grand jury is not in session, the
11   period of time for presenting the case to the grand jury shall be extended an additiona l
12   thirty days from the indictment deadline.”
13          Because no grand jury was in session in the District of Arizona during the 30 days
14   immediately following the defendant’s arrest due to the previously identified General
15   Orders, the government hereby gives notice that the indictment deadline is automatica lly
16   extended for 30 days pursuant to 18 U.S.C. § 3161(b).
17          Respectfully submitted this 21st day of August, 2020.
18                                                MICHAEL BAILEY
                                                  United States Attorney
19
                                                  District of Arizona
20
                                                  s/ Lisa E. Jennis
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                                                  LISA E. JENNIS
22                                                Assistant United States Attorney
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on the 21st day of August, 2020, I electronically transmitted the
 3   attached document to the Clerk’s Office using the CM/ECF System for filing a copy to the
 4   following CM/ECF registrants:
 5
     Jami Johnson, AFPD
 6
 7   s/ Mary Simeonoff_
     U.S. Attorney’s Office
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